Case 2:19-cv-12186-AC-MKM ECF No. 1 filed 07/25/19 PagelD.1 Page 1of9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Trustees of the

LABORERS PENSION TRUST FUND - DETROIT & VICINITY;
LABORERS VACATION & HOLIDAY TRUST FUND - DETROIT &
VICINITY; LABORERS METROPOLITAN DETROIT HEALTH

& WELFARE FUND; and the MICHIGAN LABORERS TRAINING
FUND, trust funds established under, and

administered pursuant to, federal law,

 

Plaintiffs,

V. Case No.
Hon.

PONTIAC DRYWALL SYSTEMS, INC.,

Defendant.

/
COMPLAINT
PLAINTIFFS allege the following:
1. Plaintiffs are the Trustees for trust funds established under, and

administered pursuant to, Section 302 of the Labor-Management Relations Act of
1947, as amended (““LMRA”), 29 U.S.C. §186, and the Employee Retirement Income
Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§1001, et seg., with
principal offices located in this judicial district.

2. Defendant is a Michigan corporation, doing business in the building

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.2 Page 2of9

construction industry, an industry affecting commerce within the meaning of LMRA,
with principal place of business located in this judicial district.

3. Jurisdiction of this Court is predicated on Section 301 of LMRA, 29
U.S.C. §185, and ERISA Sections 502(a)(3), 502(g)(2) and 515, 29 U.S.C.
§§1132(a)(3), 1132(g)(2) and 1145, respectively, this being a suit for breach of the
wage and fringe benefit provisions of collective bargaining agreements which the
defendant, as employer, entered into with Local Unions 334, 1076 and/or 1191 of the
Laborers International Union of North America, AFL-CIO (hereinafter collectively
the “Laborers Union”), labor organizations representing employees in a industry
affecting commerce, with principal offices located in this judicial district.

4, Pursuant to the aforementioned collective bargaining agreements, copies
of which are in its possession, the defendant was and is obligated to pay specific wage
rates and make contributions for fringe benefits (e.g., medical coverage for eligible
participant employees and their families, pensions, vacation and holiday pay, and
annuity benefits) for, or with respect to work performed by, those of their employees
who are or have been represented by the Laborers Union, which contributions should
- have been paid directly to plaintiffs.

5. Pursuant to ERISA Section 209(a), 29 U.S.C. §1059(a), and the

collective bargaining agreements and trust agreements incorporated by reference

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.3 Page 3 of 9

therein, defendant is obligated to maintain records sufficient to determine the benefits
due or which may become due to its employees represented by the Laborers Union
via contributions to plaintiffs, and to submit to periodic audits by plaintiffs of its
books and records to confirm the accuracy and timeliness of such employee wages
and contributions to plaintiffs.

6. The attached audit of Pontiac Drywall Systems Inc. for the period of
January, 2015 through March, 2018 revealed delinquencies in fund contributions in
the amount of $69,782.19, plus liquidated damages of $6,880.44 resulting from the
audit, plus liquidated damages of $877.98 resulting from late payments, for a total
outstanding debt owed to the Funds of $77,540.61.

7. Despite demand, defendant has failed to pay the indebtedness.

8. Defendant’s indebtedness to plaintiffs for fringe benefit contributions
(including contractual late payment charges or liquidated damages) for the period
from April, 2018 through present is unknown and cannot be determined until
defendant submits all necessary books and records for inspection and audit.

WHEREFORE, plaintiffs request that this Court enter judgment in their
favor and against defendant as follows:
A.  Adjudicating that defendant is contractually obligated to the

plaintiffs pursuant to the collective bargaining agreements it entered into with the

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.4 Page 4of9

Laborers Union;

B. Ordering defendant to specifically perform according to the provisions
of such collective bargaining agreements;

C. Entering Judgment against defendant in favor of the plaintiff in the
amount of $77,540.61, representing all amounts owed pursuant to audit for the period
through March, 2018, plus liquidated damages, statutory interest, costs and attorneys’
fees;

D. Upon request, ordering defendant to submit to the plaintiffs any and all
books and records needed by them to determine the amount of its indebtedness from
April, 2018, and

E. Upon submission of a motion to amend, awarding the plaintiffs the
amount of defendant’s indebtedness for the period from April, 2018, as ascertained
by the audit, plus liquidated damages, statutory interest, costs and attorney fees.

Respectfully submitted,
WATKINS, PAWLICK, CALATI, & PRIFTI, PC
By: s/George H. Kruszewski
. GEORGE H. KRUSZEWSKI (P-25857)
Attorneys for Plaintiffs
1423 E. 12 Mile Road
Madison Heights, MI 48170

248-658-0800
July 25, 2019 Email: Gkruszewski@wpcplaw.com

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.5 Page5of9

STEFANSKY, HOLLOWAY & NICHOLS, INC.

PAYROLL AUDITING SERVICES

22260 HAGGERTY ROAD, SUITE 350 : (248) 305-9905
NORTHVILLE, MICHIGAN 48167 so FAX: (248) 305-9901

March 13, 2019

Pontiac Drywall Systems, Inc.
20 West Huron
Pontiac, MI 48342

Dear Sir/Madam:

This is to inform you of the results of the recent audit to confirm your contributions to the Laborers' Metropolitan Detroit
Fringe Benefit Funds. Based on the records provided, our examination has revealed that the following amounts are stil]
owing the aforementioned Funds.

 

 

 

Health .
Care Vacation Pension Training LE.CE.T. LA.P. Total
01/15-03/18 $20,744.02 $11,210.18 $35,362.70 $1,487.51 $415.82 $561.96 $69,782.19
Liquidated damages resulting from this audit $ 6,880.44
Liquidated damages resulting from late payments $ 877.98

$77,540.61

A man-by-man breakdown covering the contributions due and owing the Funds is enclosed.

Liquidated damages resulting from this audit of $6,880.44 will be waived if this audit is paid within fifteen (15) days of
the billing date. ,

Should you have any questions, or disagree with the above findings, please contact the writer. at (248) 305-9905 to arrange
for a review. If we do not hear from you within seven (7) days from the date of this letter, the audit results as shown will
become final and the matter will be referred to Mr. Michael J. Brown, Collection Administrator. Please make your check
payable to the "Laborers' Fringe Benefit Funds", and mail to the above address c/o Mr. Michael J. Brown (248-305-9118).
DO NOT. MAIL THIS PAYMENT TO THE BANK,

Very truly yours,

W.B. Kless
Fund Auditor

enclosure
xe: Mr. Michael J. Brown

Mr. B. Bass (Local #1076) w/o Enclosures
Mr. M. Aaron (Local #1191) w/o Enclosures

 

 
   

Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.6 Page 6 of 9

WY OPR GLOSELE

. 2 SADVd
WOus STVLOL-SNS

 

SLNSWAVdHAONN/YAA0

6L/EL/E0 a1vd
WI -Ad GaeVdaud

-Qd SYH OM

1 a6eg

   

Gd SHH GYM’SHH GdSYH GYWM’SHH ddSHH GXM’'SHH GdSYH CYM’SHH Gd SHH

SY3ay0EVI
NOILLVINHOANI AONVd3SHOSIC

  

O¥M’SHH

[ei/eo-si/to]

qowsd]

         

“ou) ‘swaysig jremAlg deHudd|

 
Case 2

19-cv-12186-AC-MKM ECF No. 1 filed 07/25/19 _ PagelD.7 Page 7 of 9

WV OvB BLOZELE

, obey

 

OL BEr'ELS

ye vee 1$

86'pL0'E$

pi zeL'e$

dc ecas

OO'SLL'”$

02'E

28S

Wil

 

gO'dbt

06'S! 20S

L6'pes ZO)

igees 21-08

08'9$ Zt'0:

OO'vE! 2108

09'9

‘d'Vv'l

 

87'v0l

96°71 910$

precy 910!

8c les 91'0$

or'9$ 910

00'Ze 9L0$

 

Or":

L393 7

 

 

9862

80'oP! Spr'o$

 

 

cess Sr'0:

se’6ss Sr'0$

00'S 1 Sr'0

| 00'06$ Sr'0$

 

008

 

 

SP'‘0:

ONINIWYL

 

00'0Es'9$

 

oo'sees | 00°OLS

0O'Sgy'1$ | OO'OLS

000ee'l$ | COOLS

00°01$

00°000'¢$ | 0O'OLS

00°00!

00'01$

NOISNad}

 

os's82'z$

Seles | OF eS

SL21Gs_ | OSES

os‘sor$ | OSes

 

$
00"00r
O0'OrL

 

os’e$

o0'00zs | ose$

o0'Or

os'e$

NOLLVOVA

 

OE LFS

so'ees$ | 0¢'9$

sé'ec6$ | 06°9$

06'ZE8$_| OF'9$

00'¢Se' 0g'9$

 

00°092'1$ | o¢'9$

 

00'S:

 

OE'9$

SYVO HLIV3H

 

 

AWOL

eng jwy ayey

eng “Wwy] sje

Sng "wy rey

ang wy! ay

and “uy oyey

 

ang

quiy S}ey

GNAs

 

6L/EL/E0 diva
WT >A G3uVdadd

 

OS"E6 OS"E6

OS'9r | OS'9PI.

O0'EE} OO'EEt

00'Or 00°Or

00"G0g 00'002

OO'Or

O0'0b

AVLOl

 

XOXOXO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HOKKK

 

XXX

 

XX-XXK

 

XXKKX

 

OO"re Oo'vs

00°88 00°88

Q0'Or 00'Or

00°002 00°G02

00°07

00'Or

D809 XXQ0K__

sinbueyy ‘SIAEL {|

 

 

10S"6 1 OS'6L

O9'8S OS's

 

 

OO'EEt OO'EEL

 

 

 

S62O-XX-XXX

-UBNDSG ‘SIABI {|

 

 

Zb0¢ Jequis99q

 

L1.0¢ JOQUIBAON

 

Z10¢ 48qo}oO

 

Zilog sequiaydag

 

240g ysnbny

 

 

2102 Aine

ALYNDAS'3O0S

 

Qd SHH OXM'SYH ddSHH CGYM’SHH Od SHH GYM’SHH Od SYH OYM’SHH Od SHH GYM’SHH

NOLLVAYOANI AONVdAYOSIO

SYAaHOEV1

Cd SYH *

OMM'SYHH

| 8i/E0-S 1/40]

f dolysa|

 

 

SAA WS

“OU| ‘SWEISAS |;emAIG OBUOd|

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.8 Page 8 of 9

 

WV 0:8 = 6LOc/EL/E

   

6L/EL/EO Alva
WT ‘Ad GSuvdaud

1 oBeg ~

Gd SYH OYM'SHH OdSHYH GYM’SHH Gd SHH OYM’SHH GdSHH QOMM'SHH GdSHH GYM'SYH

SYSHOSVT
NOLLVWHOSNI AONVdSHOSIO

Od SHH

OMM’SHH

| SL/eo-S 1/40]

goiad|

“OUt 'SWSISAS EMAIG BRU]

 
Case 2:19-cv-12186-AC-MKM ECF No.1 filed 07/25/19 PagelD.9 Page 9 of 9

DETROIT LABORER'S

Pontiac Drywall Systems, Inc.
Schedule of Liquidated Damages
Resulting From Late Payments
Work Month | Date - Amount Owed
06/30/17 02/26/18} $223.24
07/31/17 02/26/18 $263.69
08/31/17 02/26/18 $199.88
09/30/17 02/26/18 $171.14 |
10/31/17| 02/26/18 $20.03

 

$877.98

 

 
